                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION - FLINT

IN THE MATTER OF:

Sheila Kaye Abramski,                                  Bankruptcy Case No. 19-30207-jda
                                                       Honorable Joel D. Applebaum
                                                       Chapter 7
                       Debtor.
                                       /

       ORDER APPROVING EMPLOYMENT OF REAL ESTATE SALES AGENT
                            AND BROKER

       This matter having come before this Court upon the Trustee's Ex-Parte Application to

Employ Real Estate Sales Agent and Broker, Sada McNiel and ChangingStreets.com, the Court

having read same and being otherwise fully advised in the premises;

       NOW, THEREFORE, upon the Application of Samuel D. Sweet, Trustee;

       IT IS HEREBY ORDERED that Sada McNiel and ChangingStreets.com, be and hereby

are authorized and empowered to act as Real Estate Sales Agent and Broker in the above-entitled

case, specifically, for the sale of real property of the Debtor;

       IT IS HEREBY FURTHER ORDERED that Sada McNiel and ChangingStreets.com

shall be and hereby are entitled to compensation and reimbursement for costs which shall be

applied for as allowed in the Bankruptcy Code and are subject to the approval of the Court.

Signed on July 12, 2019




  19-30207-jda       Doc 29      Filed 07/12/19     Entered 07/12/19 13:36:35    Page 1 of 1
